103 F.3d 120
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry Lee THOMPSON, Plaintiff-Appellant,v.Barbara K. HOWE, individually and in her official capacityas Circuit Court Administrative Judge;  Edward Dewaters,individually and in his official capacity as Chief CircuitCourt Judge;  Suzanne Mensh, individually and in herofficial capacity as Chief Clerk;  Alan M. Wilner,individually and in his official capacity as Chief Judge,Defendants-Appellees.
    No. 96-7216.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 21, 1996.Decided Dec. 6, 1996.
    
      Larry Lee Thompson, Appellant Pro Se.
      D.Md.
      DISMISSED.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant, a Maryland state inmate, appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint under 28 U.S.C. § 1915(d) (1994), amended by Prison Litigation Reform Act, Pub.L. No. 104-134, 110 Stat. 1321 (1996).  We have reviewed the record and the district court's opinion and find that this appeal is frivolous.  Accordingly, we dismiss the appeal on the reasoning of the district court.  Thompson v. Howe, No. CA-96-1821-MJG (D.Md. July 9, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    